                    NOT FOR PUBLICATION WITHOUT THE
                   APPROVAL OF THE APPELLATE DIVISION

                                        SUPERIOR COURT OF NEW JERSEY
                                        APPELLATE DIVISION
                                        DOCKET NO. A-2023-15T2

STATE OF NEW JERSEY,

     Plaintiff-Respondent,

v.

EUGENE RICHARDSON,

     Defendant-Appellant.
___________________________________

         Submitted May 16, 2017 – Decided October 4, 2017

         Before Judges Fisher, Ostrer and Vernoia.

         On appeal from the Superior Court of New
         Jersey, Law Division, Cumberland County,
         Indictment No. 14-07-0587.

         Joseph E. Krakora, Public Defender, attorney
         for appellant (Daniel V. Gautieri, Assistant
         Deputy Public Defender, of counsel and on
         the brief).

         Jennifer    Webb-McRae,   Cumberland   County
         Prosecutor,     attorney    for    respondent
         (Danielle R. Pennino, Assistant Prosecutor,
         of counsel and on the brief).

     The opinion of the court was delivered by

OSTRER, J.A.D.

     Lacking   a    valid   driver's   license,   defendant    was   caught

giving a false name during a traffic stop for a motor vehicle

violation.       The   officer   arrested   defendant    for    hindering
apprehension and took him down to the station.                         While in the

booking     room,    the    arresting     officer        searched   defendant      more

thoroughly.     The officer testified that once defendant removed

his shoes he noticed a bulge in defendant's sock.                       He felt it.

Drugs, he thought, and asked defendant to remove his sock, which

revealed multiple packets of heroin.

      The    booking       room's   two       motion-sensitive       video   cameras

likely recorded the search.               Yet, at defendant's jury trial on

the   drug   possession       charge      —       the   hindering   charge   was   not

pursued — the State's case rested only on the officer's word.

That is because the State allowed the booking room tape to be

destroyed, despite defense counsel's prior written request that

the State preserve and produce it.

      The trial court denied his timely request to instruct the

jury that it could draw an adverse inference from the tape's

destruction.        The trial court also denied defendant's pre-trial

request to bar evidence that defendant hindered apprehension.

The jury ultimately found defendant guilty of possessing heroin,

and the court sentenced defendant, a repetitive offender, to a

five-year term of imprisonment, with a two-year period of parole

ineligibility.

      Defendant      presents       two       significant     issues    on   appeal.

First, was defendant entitled to an adverse inference charge to




                                              2                              A-2023-15T2
remedy the police's routine destruction of the video where the

defense expressly requested it be preserved?                               We conclude he

was.      In particular, we hold that when the State refuses a

defendant's       diligent       pre-indictment             request     to      preserve     and

produce    recordings,          which    the        State    or   its    law     enforcement

agencies created and are directly relevant to adjudicating an

existing    charge,       the     defendant           is     entitled      to    an     adverse

inference charge.          Second, did the court err in how it handled

the evidence of hindering apprehension?                           We conclude it did.

The    evidence    was    inadmissible          under        N.J.R.E.      404(b)      for   its

proffered purpose and, in any event, the court's instruction was

inadequate.       As these errors were not harmless, we reverse the

conviction,       and    do     not     reach       defendant's       challenge         to   his

sentence.

       Before     addressing          each   issue          presented      on    appeal,      we

briefly review its procedural background.

                                             I.

                                             A.

       We begin with the destruction of evidence.                          Five days after

defendant's arrest, his attorney sent the prosecutor a discovery

demand, which asked the State to preserve and produce "all video

tapes, audio tapes or photographs, including but not limited to

police    vehicle       video    tapes,      911      tapes,      police     and      emergency




                                                3                                      A-2023-15T2
personal [sic] dispatch tapes, [and] booking room tapes . . . ."

(Emphasis   added).            The     letter      also   "request[ed]         that     all

evidence be preserved, protected and produced," and that "the

State inform defense counsel in a timely fashion should the

State learn that any evidence . . . relevant to this case . . .

is about to destroyed . . . ."1                   The State did not respond, nor

did it notify the police to preserve the booking room tapes.

    At trial, the defense did not elicit evidence regarding its

letter.      Rather,        it       focused      on   the   arresting         officer's

independent decision not to preserve the recording.                           A sergeant

confirmed   at    trial        that    the    cameras     would    have       recorded    a

suspect held in the bench area where defendant was searched.

However, the recordings were routinely overwritten after thirty

days.

    The arresting officer testified that he took no steps to

preserve    the        recording.            He    claimed   he        only    requested

preservation      of    tapes     to    record      incidents     he    did     not    see;

therefore, there was no reason for him to request the tape's

preservation.           Yet,     the    sergeant       testified       officers       could

request the preservation of tapes "for almost any reason," and

1
  Although neither party included the letter in the record on
appeal, we requested its production.    In argument before the
trial court, the State did not dispute that defense counsel had
requested both the preservation and production of booking room
recordings.



                                              4                                  A-2023-15T2
often did.     He added that officers typically requested videos of

incidents they did observe, noting that officers preserved tapes

to   refresh    their    recollection       at   trial.    As   the   arresting

officer did not request the video, it was erased thirty days

after defendant's arrest.

      The grand jury indicted defendant less than a month after

the erasure.2         By that point, there was no recording for the

State to produce.         In justifying its inaction, the prosecutor

later contended her office had no responsibility to produce any

discovery pre-indictment, although she essentially conceded the

case had been referred to her office by the time defense counsel

served the letter requesting preservation of the booking room

recording.3     She said that defense counsel could have submitted

the discovery request directly to the police department.                     The

prosecutor also noted that the request was a "form letter," and

suggested      that     whether   the   recordings        possessed    evidence

material to the defense was speculative.




2
  Although the indictment charged possession with intent to
distribute,   N.J.S.A.   2C:35-5(b)(3), as  well  as   simple
possession, N.J.S.A. 2C:35-10(a)(1), the State dismissed the
former charge before trial.
3
  She stated in oral argument opposing defendant's pre-trial
motion to dismiss that when her office received the discovery
request, "The State d[id]n't know if it[] [was] going to keep
the case, or if it[] [was] going to dismiss the case."



                                        5                              A-2023-15T2
      Defendant moved before trial to dismiss the indictment on

the ground that destruction of the videorecording violated his

right to due process.            The court denied the motion, finding the

police did not act in bad faith.4             That decision is not before

us.

      The     court       reserved    decision      on    defense     counsel's

alternative request for an adverse inference jury instruction.

However, when counsel renewed the request at trial, a different

judge denied it.

      The court held there was no binding authority that required

the State to preserve the recordings in response to a letter to

the prosecutor's office.             Noting the prior finding of no bad

faith,      the   judge    stated    he   would   have    viewed    the    matter

differently had defense counsel sent the request directly to the

police.      The judge stated that an adverse inference charge would

"tell[] the jury the police did something wrong," which the

court declined to do.            When defense counsel renewed the request

before    summations,      the    court   added   that   defense    counsel     had




4
  A defendant must prove bad faith to establish a due process
violation based on destruction of potentially useful, as opposed
to exculpatory, evidence.    See State v. Marshall, 123 N.J. 1,
109 (1991) (applying Arizona v. Youngblood, 488 U.S. 51, 57-58,
109 S. Ct. 333, 337, 102 L. Ed. 2d 281, 289 (1988)), cert.
denied, 507 U.S. 929, 113 S. Ct. 1306, 122 L. Ed. 2d 694 (1993);
State v. Mustaro, 411 N.J. Super. 91, 102-03 (App. Div. 2009).



                                          6                               A-2023-15T2
thoroughly examined the issue at trial and could address it in

closing.

    The defense did.         The absence of video was a major theme of

the short trial.         The defense's sole witness was the sergeant in

charge   of    preserving     booking      room        recordings.      The   defense

highlighted the absence of the surveillance footage, and focused

on the arresting officer's decision not to preserve the video,

despite the sergeant's testimony that officers often did.                            In

summation, the defense referred to cases in the news of police

misconduct       and      misrepresentations             ultimately     belied       by

bystanders'      recordings.        The     prosecutor         responded   that     the

officer was not required to preserve the recording and that

there was no evidence of "foul play."                    The prosecutor contended

that reference to the lost recording was a "smoke screen" and

that the officer's observation of drugs met the State's burden.

    As his first point on appeal, defendant contends:

              THE TRIAL JUDGE ERRED IN FAILING TO PROVIDE
              JURORS WITH AN ADVERSE-INFERENCE OR CURATIVE
              INSTRUCTION  AFTER   THE  STATE   FAILED  TO
              PRESERVE THE VIDEOTAPE OF THE ALLEGED CRIME,
              THEREBY ALLOWING CRITICAL EVIDENCE TO BE
              DESTROYED.

                                           B.

    The    issue       presented    involves       the    State's     pre-indictment

failure,      despite    defendant's       request,       to   preserve    obviously

relevant      evidence    that     would        have    been   discoverable      post-



                                           7                                  A-2023-15T2
indictment.        We    conclude    that       the     State's   failure     to     do   so

violated its implied obligations under the criminal discovery

rules   and      our    caselaw,     and    warranted       an    adverse     inference

instruction.       Notably, our courts' power to order discovery is

not limited to the express terms of the automatic discovery

provisions of Rule 3:13-3(b).               See State ex rel. A.B., 219 N.J.

542, 555 (2014).          The courts have "the inherent power to order

discovery when justice so requires."                     Ibid. (internal quotation

marks and citation omitted).               We draw support for our conclusion

from our Supreme Court's decisions requiring police officers to

preserve their interview notes before and after indictment.                               We

also look to persuasive authority of other state courts.

                                            1.

    Without doubt, defendant, post-indictment, would have been

entitled    to    discovery     of    the       videorecording      —   had    it      been

preserved.       According to our Rules, the State's obligation to

produce    discovery      in   criminal         cases    arises   after     indictment,

unless a pre-indictment plea offer is made.                        See R. 3:13-3(a)

(pre-indictment         discovery);        R.    3:13-3(b)(1)       (post-indictment

discovery by defendant).             The disclosure obligation pertains to

"relevant         material,"         R.         3:13-3(b)(1),        and       includes

videorecordings in the State's possession, R. 3:13-3(b)(1)(B).

To qualify as "relevant material," the evidence must have "'a




                                            8                                      A-2023-15T2
tendency in reason to prove or disprove [a] fact of consequence

to the determination of the action.'"                    State v. Gilchrist, 381

N.J. Super. 138, 146 (App. Div. 2005) (quoting N.J.R.E. 401).                             A

court must "focus upon 'the logical connection between the . . .

evidence and a fact in issue.'"                 Ibid. (quoting State v. Darby,

174 N.J. 509, 519 (2002)).                 The videotape certainly met that

standard.       It recorded the alleged offense and would have tended

to    prove    or    disprove    the     officer's     testimony     that       defendant

possessed heroin in his sock.

       We     read    Rule    3:13-3(b)(1)      to   imply   a     duty    to    preserve

evidence      pre-indictment,       at    least      where   the    item    is    clearly

destined for post-indictment disclosure and a defendant timely

requests its preservation.              To conclude otherwise would give the

State, as well as the police, free rein to destroy evidence that

may    help     a    defendant,    before       indictment       triggers       automatic

disclosure.          That would frustrate the broad pre-trial discovery

our Rules authorize and undermine the Rules' goals of "promoting

the search for truth," and "providing fair and just trials."

State v. Scoles, 214 N.J. 236, 251-52 (2013).

       In a series of decisions culminating in State v. W.B., 205

N.J. 588 (2011), the Supreme Court established that the State

must preserve, for later disclosure, the pre-indictment writings

and    notes         of   a    police     officer      under       the     prosecutor's




                                            9                                    A-2023-15T2
supervision.      Id. at 608; see also State v. Branch, 182 N.J.

338, 367 n.10 (2005) (criticizing police officers' "seemingly

routine practice of destroying their contemporaneous notes of

witness   interviews");      State   v.     Cook,    179    N.J.   533,   542   n.3

(2004).    Once "a case is referred to the prosecutor following

arrest by a police officer as the initial process, or on a

complaint by a police officer, local law enforcement [becomes]

part of the prosecutor's office for discovery purposes."                     W.B.,

supra,    205   N.J.   at   608   (citing    R.     3:3-1;    R.   3:4-1).      The

obligation established in W.B. "cover[s] the gap between the

investigation and a defendant's indictment."                   State v. Dabas,

215 N.J. 114, 119 (2013) (citing W.B., supra, 205 N.J. at 608).

Upon indictment, the notes are disclosable as reports "in the

possession,     custody     and   control    of     the    prosecutor."      W.B.,

supra, 205 N.J. at 608 (citing R. 3:13-3(c)(6), (7), and (8)

(2011), now found at R. 3:13-3(b)(1)(F), (G), and (H)).

    The Court's decision in W.B. responded to the widespread

police practice of destroying notes once an officer prepared a

formal report.         See Dabas, supra, 215 N.J. at 118-19.                    The

officer in W.B. destroyed notes of interviews of the alleged

victim and the defendant in a sexual assault case.                  W.B., supra,

205 N.J. at 607.        The Court explained that preserving writings

would guard against "the possibility of a misrecording" in the




                                      10                                  A-2023-15T2
subsequent report.          Ibid.    The Court grounded the requirement in

both the discovery rules and the right to confront witnesses:

              Yet the possibility of a misrecording is
              precisely why the notes must be maintained —
              a defendant, protected by the Confrontation
              Clause and our rules of discovery, is
              entitled to test whether the contemporaneous
              recording is accurate or the final report is
              inaccurate because of some inconsistency
              with a contemporaneous recordation.    It is
              for the jury to decide the credibility of
              the contemporaneous or other recordation
              made while an investigation is on-going
              prior to preparation of a formal report.

              [Id. at 607-08.]

    Just as the State may not routinely destroy officers' notes

before   they       must    be   disclosed      under   Rule       3:13-3(b)(1),         we

conclude      the     State      may     not     destroy          law   enforcement's

videorecording of an offense, particularly when a defendant has

made a timely request to preserve it.                   The same confrontation

right    at    play    in     W.B.     applies    to    the       destruction      of    a

videorecording        of    an   officer       searching      a    defendant.           The

recording enables a defendant to test the officer's version of

what transpired.

    The evidential value of the recordings may be substantial,

and even more reliable than an officer's notes.                         As the Court

stated, in reference to the recording of an alleged child abuse

victim's statement:




                                           11                                   A-2023-15T2
            [T]he videotape "convey[s] not only the
            exact words spoken by the child, but their
            finer shades of meaning through facial
            expressions, body movements and inflections
            of voice." In addition, a video recording
            creates an objective, reviewable record,
            enhances the reliability of confessions,
            protects   police    officers   from    false
            allegations, improves the overall quality of
            police work, and may well "preserve judicial
            resources" by discouraging defendants from
            raising frivolous pre-trial challenges to
            the admission of the child's statement.

            [State v. P.S., 202          N.J.       232,   253   (2010)
            (citations omitted).]

       As for remedy, the W.B. Court held, prospectively, that "if

notes of a law enforcement officer are lost or destroyed before

trial, a defendant, upon request, may be entitled to an adverse

inference charge molded, after conference with counsel, to the

facts of the case."           205 N.J. at 608-09.          As the defendant in

W.B. neither requested an adverse inference charge at trial, nor

timely raised the issue before his new trial motion, the Court

declined to hold on appeal that the defendant was entitled to

the charge.        Id. at 609.         The Court added that an adverse

inference    charge      as   a   sanction    for   destruction     of    interview

notes may be "unnecessary where enough evidence is presented to

make     [the]    out-of-court      statement       trustworthy"     without       the

notes.    Id. at 609 n.10 (citing P.S., supra, 202 N.J. at 254).

       However,    the   Court     mandated    an   adverse      inference    charge

under the circumstances presented in Dabas, supra.                    The officer



                                        12                                   A-2023-15T2
in Dabas destroyed his lengthy pre-interview notes involving a

murder investigation.         215 N.J. at 123-24.     The pre-interview

was   followed       by   a   brief   recorded   inculpatory      interview

consisting of short answers to leading questions.               Ibid.    Upon

preparing his written report, the officer destroyed his pre-

interview notes a year after indictment.         Id. at 123.      The notes

were unquestionably subject to discovery by that time.                    The

Court held it was an abuse of discretion for the trial court to

refuse to give an adverse inference charge as requested by the

defendant.    Id. at 141.
      The    Court    highlighted     the   impact   of   the     officer's

destruction of notes on the truth-seeking process:

            The potential for unconscious, innocent
            self-editing in transferring words, sentence
            fragments, or full sentences into a final
            report is a real possibility.      So is the
            potential    for   human     error   in   the
            transposition of words from notes into a
            report.    The meaning and context of [the
            defendant's] words as recorded in the notes
            may   have    been   subject    to  differing
            interpretations where [the investigator] saw
            only one.    Language nuances may have been
            lost as [the investigator] translated them
            into the final report.          The slightest
            variation of a word or a phrase can either
            illuminate or obscure the meaning of a
            communication.

            [Id. at 138-39.]

In other words, destruction of notes deprives a defendant of

potentially useful evidence.



                                      13                            A-2023-15T2
    "The adverse-inference charge is a remedy to balance the

scales   of    justice   .   .   .   ."        Id.   at   140.    The   Court    drew

parallels to the adverse inference charge authorized in State v.

Clawans, 38 N.J. 162, 170-75 (1962), which involved a missing

witness, rather than missing evidence.                    Ibid.    "[A] defendant

may be entitled to such a charge if the State fails to present a

witness who is within its control, unavailable to the defense,

and likely to give favorable testimony to the defendant."                    Ibid.

    The Court concluded that "[b]alancing the scales" required

an adverse inference charge consisting of instructions that (1)

"the State had a duty to produce the pre-interview notes to the

defense following the return of the indictment"; (2) "[b]ecause

the State made the notes unavailable, . . . the jury . . . was

permitted to draw an inference that the contents of the notes

were unfavorable to the State"; and (3) "[w]hether to draw such

an inference falls within the jury's discretion, after it gives

full consideration to the nature of the discovery violation, the

explanation given by the State for the violation, and any other

relevant factors that would bear on the issue."                   Id. at 141.5


5
  In response to the Court's decision in W.B., the Committee on
Model Criminal Jury Charges adopted the following instruction:

                   You have heard testimony that
              failed to preserve (his/her/their) original
              notes in this case.        Law enforcement
                                                        (continued)


                                          14                               A-2023-15T2
      Here, the case for such an adverse inference charge is just

as   strong.    Although    this   case   involves    the   pre-indictment

destruction    of   evidence,   defense   counsel's   timely   request   to


(continued)
          officers    are    required    to    preserve
          contemporaneous notes of their interviews
          and observations at the scene of a crime,
          even after producing their final reports. A
          defendant is entitled to test whether the
          officer has accurately recorded statements
          and    observations     that    were     made
          contemporaneously and also to test whether
          the final report and the officer's trial
          testimony are inaccurate because of some
          inconsistency with what the officer recorded
          at the scene.      When the contemporaneous
          notes are not preserved, the defendant is
          deprived of this opportunity to test the
          accuracy of the contemporaneous notes, the
          final report, and the trial testimony.

           [Insert Parties Contentions, If Any]

                It is for you the jury to decide the
           credibility of the evidence presented.     In
           evaluating the officer's credibility, you
           may infer that notes lost or destroyed by an
           officer before trial contained information
           unfavorable   or   inconsistent    with  that
           officer's trial testimony or final report.
           In deciding whether to draw this inference,
           you may consider all the evidence in the
           case, including any explanation given as to
           the    circumstances     under    which   the
           contemporaneous    notes     were   lost   or
           destroyed.   In the end, however, the weight
           to be given to the testimony, and to the
           loss or destruction of the notes, is for
           you, and you alone, to decide.

           [Model Jury Charge (Criminal), "Failure of
           Police to Preserve Notes" (2011).]



                                    15                            A-2023-15T2
preserve the evidence places this case in a category more like

Dabas than W.B.     Just as the State in Dabas failed to preserve

and produce evidence, despite an explicit requirement, the State

here failed to preserve and produce the videorecording, despite

an   explicit   request.         Also,     as   in     Dabas,   defendant       timely

requested an adverse inference charge.                  In fact, the evidential

impact of the recording in this case is as great, if not greater

than in Dabas.       Here, the recording memorialized the offense

itself and there is no corroborating evidence of the officer's

version of events.

      We   recognize      that     trial      courts     are    vested   with     the

discretion to fashion an appropriate sanction for a violation of

discovery obligations.           Dabas, supra, 215 N.J. at 141; see also

R. 3:13-3(f).      Trial courts also exercise broad discretion in

determining     whether    to     comment       on   evidence     during    a     jury

instruction, State v. Brims, 168 N.J. 297, 307 (2001), or to

grant a defendant's request for a particular jury charge.                        State

v. Green, 86 N.J. 281, 290 (1981).

      However, we are not obliged to defer to the exercise of

discretion that rests on an "impermissible basis."                   See Flagg v.

Essex   Cnty.   Prosecutor,       171    N.J.    561,     571   (2002)     (internal

quotation marks and citation omitted).                  We will also reverse a

conviction where the court, which is obliged "to ensure that the




                                         16                                 A-2023-15T2
jurors    receive   accurate   instructions      on   the   law,"   delivers

"erroneous instructions on material issues," State v. Reddish,

181 N.J. 553, 613 (2004) (internal quotation marks and citations

omitted), or omits an instruction that is prejudicial to the

defendant "in light of the totality of the circumstances," see

State v. Marshall, 123 N.J. 1, 145 (1991) (internal quotation

marks and citations omitted), cert. denied, 507 U.S. 929, 113 S.

Ct. 1306, 122 L. Ed. 2d 694 (1993).

       The trial court here not only refused defendant's request

for an adverse inference charge, but denied any other remedy to

"balance the scales" that the State tilted by permitting the

recording's destruction.       In finding no discovery violation, the

court    presumed   the   State   was    not   obliged   to   preserve    the

recording; and the defense should have directed its request to

the police.    Yet, as noted above, since the case was referred to

the prosecutor, the police and the prosecutor's office acted as

one.     See W.B., supra, 205 N.J. at 608.            In sum, the implied

obligation of Rule 3:13-3(b)(1); the Court's decisions in Dabas

and W.B.; and the defense's explicit request for preservation

all compelled the State, including the police, to preserve the

recording.    As it failed to do so, an adverse inference charge

was warranted, so the jury could itself weigh "the explanation




                                    17                              A-2023-15T2
given by the State for the violation."                   Dabas, supra, 215 N.J.

at 141.

      We reject the State's contention that defendant was obliged

to   show   the    State     acted   in   bad    faith   and     the    evidence      was

exculpatory.       Bad faith is an essential element of a due process

violation     where    the     evidence     is    potentially          useful.        See

Marshall, supra, 123 N.J. at 109; State v. Knight, 145 N.J. 233,

245 (1996).         On the other hand,           "[s]uppression of requested

exculpatory       evidence    violates    due    process,      regardless        of   the

prosecution's good faith."            State v. Robertson, 438 N.J. Super.

47, 67 (App. Div. 2014), rev'd on other grounds, 228 N.J. 138
(2017).     However, as the Court held in W.B. and Dabas, neither

proof of bad faith, nor a showing that evidence is exculpatory,

is essential to demonstrate a discovery violation or to justify

an adverse inference charge.6

                                          2.

      Our   conclusion        also    finds      support    in     the     persuasive

decisions of other jurisdictions.                 They have found an adverse

inference charge was warranted by the State's destruction of

potentially useful evidence, even where bad faith was not shown.

6
    Bad faith is not a prerequisite for an adverse inference
charge in the civil context, as a sanction for spoliation of
evidence. See Jerista v. Murray, 185 N.J. 175, 202 (2005). We
can conceive of no reason to impose a more demanding standard
when a person's liberty is at stake in a criminal case.



                                          18                                 A-2023-15T2
See State v. Glissendorf, 329 P.3d 1049, 1051-53 (Ariz. 2014)

(adverse inference charge required where State destroys evidence

that has a "tendency to exonerate" or is "potentially useful");

Hammond    v.    State,        569    A.2d      81,     90    (Del.     1988)      (defendant

entitled to adverse inference charge where State destroyed a

crashed automobile in a vehicular homicide case); Cost v. State,

10 A.3d 184, 196 (Md. 2010) (requiring adverse inference charge

where    State     destroyed         "highly         relevant"       tangible      evidence);

People v. Handy, 988 N.E.2d 879, 879 (N.Y. 2013) (stating, "when

a    defendant    in   a     criminal       case,      acting    with       due    diligence,

demands evidence that is reasonably likely to be of material

importance, and that evidence has been destroyed by the State,

the    defendant    is     entitled        to    an    adverse       inference      charge");

People    v.     Butler,       33    N.Y.S.3d         602,     605    (App.       Div.    2016)

(mandating adverse inference charge where police surveillance

video of crime was erased before a defense request).

       In Handy, supra, the defendant was charged with assaulting

sheriffs officers in a jail.                    988 N.E.2d at 879.                A jailhouse

recording system recorded at least part of the incident.                                 Id. at

880.     One of the officers viewed the video, reportedly decided

it    recorded    only     a    "very      small      part"     of    the   incident,       and

allowed    the    images       to    be    routinely         overwritten      after      thirty

days.     Ibid.        The     tape       was   erased,       despite    the      defendant's




                                                19                                    A-2023-15T2
demand for the evidence shortly after he was charged with a

felony complaint, but before indictment.7

      Adhering to Arizona v. Youngblood, 488 U.S. 51, 109 S. Ct.

333, 102 L. Ed. 2d 281 (1988), as does our Supreme Court, the

New   York   Court    of   Appeals   declined    to   find   a    due   process

violation.     Yet, it held that the trial court was required to

grant defendant's request for an adverse inference charge.                    Id.

at 883.      The New York court rejected the Appellate Division's

conclusion     that    the    defendant       could   not    establish        the

recording's value, noting that the State's destruction "created

the   need   to   speculate    about    its    contents."        Id.    at   882.
Furthermore, requiring an adverse inference would "give[] the


7
  The timing of the defendant's request was elucidated in a
subsequent case, People v. Durant, 44 N.E.3d 173, 179 (N.Y.
2015) (stating, with reference to Handy, "[d]espite the
defendant's demand for such evidence, the police destroyed the
surveillance images sometime between the defendant's arraignment
on the complaint and the filing of the indictment").    However,
the New York Appellate Division rejected the notion that the
duty to preserve evidence is only triggered upon the defendant's
request, and instead required authorities to take whatever steps
necessary to preserve the relevant evidence "'when something
will . . . foreseeably lead to criminal prosecution.'" Butler,
supra, 33 N.Y.S.3d at 605 (quoting Handy, supra, 988 N.E.2d at
882-83).    "To conclude that the duty to preserve is not
triggered until a request is made by the defendant would only
give an incentive to State agents to destroy the evidence before
the defendant has a chance to request the tapes." Ibid. On the
other hand, the New York model jury instruction, drafted after
Handy, addresses cases where government agents destroyed
evidence after the defense requested it.        See id. at 607
(Curran, J., concurring).



                                       20                               A-2023-15T2
State an incentive to avoid the destruction of evidence."                                 Ibid.

The    court    emphasized          that    the    jury    was    permitted,       but       not

required, to draw an inference in defendant's favor.                                    Id. at

883; see also People v. Viruet, ___ N.E.2d ____ (N.Y. 2017)

(slip    op.     at    7-8)     (extending         the    rule     to     a    third      party

recording,       in    the     State's       possession,          of    the     murder       the

defendant was charged with committing).8

       The court in Handy, supra, 988 N.E.2d at 882, relied on the

Maryland       Court    of    Appeals'       decision      in     Cost,       supra.       Cost

involved the destruction of tangible items of evidence in the

prison    cell      where     the    defendant       allegedly         stabbed    a     fellow

inmate through a slot between their two cells.                            10 A.3d at 187-

88,    196.      The    items       included       the   victim's       allegedly        blood-

stained linens and clothing.                  Id. at 196.             The Maryland court

held    that    a     "missing      evidence"       charge      was     mandated       because

"[t]he   evidence       destroyed          while    in    State    custody      was     highly


8
  Much like the instruction outlined in Dabas, supra, 215 N.J. at
141, the New York model jury charge, adopted after Handy,
informs the jury of the State's obligation to preserve evidence,
but leaves it to the jury to determine whether to draw an
adverse inference.     See CJI2d [NY] Destroyed Evidence.      By
contrast, the Arizona model charge, referenced in Glissendorf,
supra, 329 P.3d at 1051, does not inform the jury that the State
is obliged to preserve the evidence, but it informs the jurors
that they may draw an adverse inference if they are not
satisfied with the State's explanation for its destruction. See
Rev. Ariz. Jury Inst. Stand Crim. 10 ("Lost, Destroyed, or
Unpreserved Evidence").



                                              21                                       A-2023-15T2
relevant     to     [the     defendant's]    case,"    and     "could       not    be

considered cumulative, or tangential -- it goes to the heart of

the case."        Ibid.     Furthermore, the defendant's own argument to

the jury was no substitute for an instruction from the court,

which    would     have    "more   force    and   effect."      Id.    at     196-97
(internal quotation marks and citation omitted).

       The court held that fairness dictated a "missing evidence"

instruction favoring defendant, particularly since Maryland law

permits a "missing evidence" instruction against a defendant, to

allow a jury to infer consciousness of guilt.                  Id. at 191, 197.

The court recognized, "[f]or the judicial system to function

fairly, one party in a case cannot be permitted to gain an

unfair advantage through the destruction of evidence."                       Id. at

197.
       The court declined to require the instruction "as a matter

of     course,     whenever     the    defendant     alleges     non-production

evidence."        Ibid.      Instead, the court left it to the trial

court's discretion to refuse such a charge "where the destroyed

evidence was not so highly relevant, not the type of evidence

usually collected by the state, or not already in the state's

custody."     Ibid.        However, a trial court "abuses its discretion

when    it   denies   a     missing   evidence    instruction    and    the       jury

instructions, taken as a whole, [do not] sufficiently protect




                                        22                                  A-2023-15T2
the defendant's rights and cover adequately the issues raised by

the evidence."           Ibid. (internal quotation marks and citation

omitted).

      Consistent with this persuasive authority, we conclude the

trial    court       erred   in   rejecting       defendant's      request      for    an

adverse inference charge.                The recordings were unquestionably

relevant,      as    they    pertained    to    the     very   heart   of    the    case.

Defendant exercised due diligence in requesting the preservation

and production of the recordings.                  Yet, the State and police,

acting as one, allowed the routine destruction of the recording.

                                           3.

      We conclude that the court's error denied defendant a fair

trial.        This     prosecution   for       simple     drug   possession        rested

solely on the arresting officer's word.                        The State asked the

jury to believe that an on-the-scene search did not uncover the

drugs; a booking room search did.                       But, no one else in the

booking       room   could    confirm     that     is    what    happened.          While

officers often preserved recordings, the arresting officer chose

not     to.      The    recording    may        have    conclusively        established

defendant's guilt if the officer was truthful, but it may have

conclusively exonerated defendant if the officer was not.                               A

jury instruction would likely have added weight to the defense

argument, by expressly permitting the jury to draw an adverse




                                           23                                  A-2023-15T2
inference from the destruction of the booking room recording.

See Marshall, supra, 123 N.J. at 145 (noting that a defense

counsel's arguments "can by no means serve as a substitute for

[proper] instructions by the court").

       It is possible, of course, that the jury may have found

defendant guilty, even if the court had delivered the requested

adverse inference charge.           However, "mere possibilities . . . do

not render an error harmless."               State v. Scott, 229 N.J. 469,

484 (2017).       "[I]f there is a reasonable doubt as to whether the

error contributed to the verdict" — and we conclude there is

here — we shall not deem it harmless.                     See State v. J.R., 227

N.J.   393,   417   (2017).      Therefore,         the    omission    of    the   jury

instruction warrants reversal.

                                       II.

                                        A.

       Defendant's right to a fair trial was also undermined by

allowing    evidence    that   he    gave    a     false   name   to   the    officer

during the traffic stop.            After a brief N.J.R.E. 104 hearing,

the court denied defendant's motion under N.J.R.E. 404(b) to bar

evidence of hindering apprehension.

       At   the   pre-trial    hearing,      the    officer    recounted      how    he

discovered that defendant gave a false name, Tamorah Richardson,

and arrested him on the disorderly persons offense.                     The officer




                                        24                                    A-2023-15T2
explained that defendant later admitted his true name, but was

still taken to the station-house pursuant to department policy.

The State contended that evidence of hindering went to "motive,

as   well   as     identity,"     and    it        "frame[d]      the    context    of   the

arrest."        Also, without the evidence, the jury would speculate

that the police did "something improper" in arresting defendant.

      The defense did not object to testimony to establish the

fact of the motor vehicle stop and defendant's arrest, and was

willing     to    stipulate     to      the        legality    of       the   arrest,    but

contended that evidence that defendant lied to the officer or

hindered apprehension was highly prejudicial.                            Defense counsel

initially        argued   there      was      no      need     to    stipulate      as    to

defendant's identity — an idea the court suggested.

      The   court     denied      defendant's            motion     on    three    grounds.

First, the court held the evidence was admissible under N.J.R.E.

404(b) and the multipart test of State v. Cofield, 127 N.J. 328,

338 (1992) (stating that admissible evidence of other crimes or

wrongs must be (1) "relevant to a material issue;" (2) "similar

in kind and reasonably close in time to the offense charged;"

(3) "clear and convincing;" and (4) its "probative value . . .

must not be outweighed by its apparent prejudice").                               The court

found     the     hindering     evidence           was    relevant       to    defendant's




                                              25                                   A-2023-15T2
identity; it was reasonably close in time;9 the State clearly and

convincingly proved defendant initially lied about who he was;

and the evidence's probative value was not outweighed by its

prejudice, which the court could address with an appropriate

jury instruction.             Second, the court held that the evidence was

not "other crimes" evidence after all, but was "part of . . .

one single criminal occasion," since defendant may have provided

false information "to avoid apprehension for the drugs . . . ."

Third, applying N.J.R.E. 403, the court held that the probative

value was not substantially outweighed by the risk of undue

prejudice.

       After      the   court    rendered    its     decision,   defense   counsel

offered to stipulate to defendant's identity, although insisting

it    was   not    an    issue    that    required    evidence   of    defendant's

hindering, since defendant admitted he was Eugene Richardson at

the    scene.           The    court     responded    that   defense    counsel's

concession was too late.

       Once the officer testified that he arrested defendant for

hindering apprehension, the judge instructed the jury:

                  The [d]efendant is not charged with
             that particular issue right now. That's not

9
  We recognize the Court has stated that "the second prong may be
eliminated where it 'serves no beneficial purpose.'"     State v.
Barden, 195 N.J. 375, 389 (2008) (quoting State v. Williams, 190
N.J. 114, 131 (2007)).



                                           26                              A-2023-15T2
         going to be for your consideration, any type
         of [h]indering claim, if you will.

              That testimony is admissible and for
         the limited purpose for you on the issue of
         identi[t]y of this particular [d]efendant
         and also, to place the situation in the
         appropriate context by the State, in terms
         of the entire case.

    In the final instructions to the jury the judge amplified:

         [T]here was testimony that Officer Selby
         believed that the information provided to
         the officer in his apprehension, meaning the
         [d]efendant, I previously advised you that
         the [d]efendant is not charged with a
         criminal offense in connection with that
         statement.

              Furthermore, I previously advised and
         remind you once again that you are to
         consider the statement only with regard to
         the identification of the [d]efendant and
         the context of the entire case.

              Furthermore, you are also free to
         determine as with all evidence whether this
         statement allegedly made by the [d]efendant
         with regard to his identity to Officer Selby
         was, in fact, made.    And if so, the weight
         to be attached to that evidence.

The judge did not expressly describe the uses of the evidence

that were prohibited, nor did defense counsel expressly request

such an instruction, or object to its omission.

    During its deliberations, the jury asked the court: "Can we

consider the fact that the [d]efendant lied about his name and

date of birth and age?"     Defense counsel urged the court to

instruct the jury it could not.     Alternatively, she urged the



                               27                       A-2023-15T2
court to instruct the jury that it could consider the evidence

only for the purposes of identification and "not for anything

else."      She   noted   her     concern         that      the   jury       would    use    the

evidence    "to    ascribe    some        kind    of     character       information          or

character    assessment       .   .   .    ."         The     prosecutor       agreed,       and

suggested, "I think the way to deal with it is the language that

[defense    counsel]      used,       it's      not      to    ascribe        any     sort    of

character to the [d]efendant, just simply the officer needed to

ID him."     The judge rejected these suggestions and repeated its

previous instructions.

     As his second point on appeal, defend contends:

            THE COURT ERRED IN ADMITTING OTHER-CRIMES
            EVIDENCE ON THE SUBJECT OF IDENTITY, WHICH
            WAS NOT AN ISSUE IN THE CASE.     THE COURT'S
            LIMITING INSTRUCTION FAILED TO ENSURE THAT
            JURORS WOULD NOT MISUSE THAT EVIDENCE TO
            CONVICT BASED ON THE NOTION THAT RICHARDSON
            HAD A PROPENSITY TO COMMIT CRIMES.

                                             B.

     The    State     essentially          concedes           that     the     evidence       of

defendant's       hindering       constituted          other         crimes     and     wrongs

evidence under N.J.R.E. 404(b).10                 However, the State argues that

it satisfied the four-prong test under Cofield.                          We disagree.


10
  The State does not try to defend the court's conclusion that
the evidence was part of the same transaction as the drug
offense such that N.J.R.E. 404(b) did not apply.  See State v.
Rose, 206 N.J. 141, 180 (2011) (rejecting the res gestae
                                                    (continued)


                                             28                                       A-2023-15T2
       Although     the    evidence   may    have    clearly   and   convincingly

established       that    defendant   gave    a    false   name   (prong    three),

neither the defendant's identity nor the "context" of the case

was a material issue (prong one).                 Defendant's identity was not

genuinely disputed.          In fact, the defense offered to stipulate

to defendant's identity and that he was lawfully in custody.

See State v. Darby, 174 N.J. 509, 519-20 (2002) (stating that an

issue must actually be disputed in order for the evidence to be

deemed relevant under N.J.R.E. 404(b)); State v. Stevens, 115

N.J.    289,      301    (1989)   (concluding       that   "'when    the    accused

concedes the issue to be proved, the proffered evidence has no

probative value'" (citation omitted)).

       In   any    event,    defendant's     false    statement      that   he    was

Tamorah Richardson did not prove he was Eugene Richardson.                        The



(continued)
doctrine for admitting other crimes or wrongs evidence, and
holding that N.J.R.E. 404(b) generally applies unless evidence
is "intrinsic" to the charged offense, that is, evidence of an
act that "directly proves the charged offense" or an act
"performed contemporaneously with the charged crime . . . [that]
facilitate[s] the commission of the charged crime") (internal
quotation marks and citation omitted). Consequently, we do not
address the trial court's findings that the evidence of
hindering was "part of one single . . . criminal occasion" and
defendant may have wanted to "avoid apprehension." Nonetheless,
we note that the court did not instruct the jury that it could
use the evidence of hindering as evidence of consciousness of
guilt, nor did the court deliver the mandated instruction on
consciousness of guilt. See State v. Williams, 190 N.J. 114,
133-34 (2007); State v. Mann, 132 N.J. 410, 421 (1993).



                                        29                                  A-2023-15T2
officer testified at trial that defendant was "later identified

as Eugene Richardson," but he did not say how.                    At the N.J.R.E.

104 hearing, the officer stated that defendant himself admitted

he was Eugene Richardson at the traffic stop, once the officer

told him that he knew he was not Tamorah Richardson.                     In other

words, the false statement did not prove defendant's identity;

his    own    admission      did.    Inasmuch     as   the    evidence      had    no

probative      value   pertaining     to    the   issue      of    identity,      the

evidence was outweighed by prejudice to defendant (prong four).

In sum, it should have been excluded.

       Furthermore, the court failed to properly instruct the jury

that    it    could    not     use   the    hindering     evidence     to      prove

defendant's propensity to commit crimes, or that he was a bad

person who likely committed a crime.               See State v. Gillispie,

208 N.J. 59, 92 (2011) (stating "the court's instruction should

be formulated carefully to explain precisely the permitted and

prohibited purposes of the evidence" (quoting Cofield, supra,

127    N.J.   at   340-41)     (emphasis     added)).        Our    model    charge

includes the following critical instruction:

                   However, you may not use this evidence
              to decide that the defendant has a tendency
              to commit crimes or that he/she is a bad
              person.   That is, you may not decide that,
              just because the defendant has committed
              other crimes, wrongs, or acts, he/she must
              be guilty of the present crime[s].   I have
              admitted the evidence only to help you



                                       30                                   A-2023-15T2
           decide the specific question of [describe
           specific purpose].   You may not consider it
           for any other purpose and may not find the
           defendant guilty now simply because the
           State has offered evidence that he/she
           committed other crimes, wrongs, or acts.

           [Model Jury Charge (Criminal), "Proof of
           Other   Crimes,  Wrongs or Acts  N.J.R.E.
           404(b)" (2016).]

    An appropriate limiting instruction must be given even if a

defendant does not request it.           See State v. Clausell, 121 N.J.

298, 323 (1990).       Yet, even after the jury inquired whether it

could consider the fact that defendant "lied about his name and

date of birth and age," the court declined to instruct the jury

about the prohibited uses of the evidence.

    We    are    convinced    the   court's    errors       in   admitting   the

evidence of hindering apprehension and delivering an incomplete

jury charge, were clearly capable of producing an unjust result

and warrant reversal, independent of the failure to deliver an

adverse   inference     charge   discussed    above.        R.   2:10-2.     Our

Supreme Court has emphasized the inherently prejudicial nature

of other crimes or wrongs evidence.              "Nothing could be more

prejudicial     than   the   erroneous    admission    of    such   testimony."

State v. G.V., 162 N.J. 252, 261 (2000); see also State v.

Atkins, 151 N.J. Super. 555, 570 (App. Div. 1977), rev'd on

other grounds, 78 N.J. 454 (1979).




                                     31                                A-2023-15T2
    The      Court    has    cautioned       against     the     overuse    of    the

"harmless    error"     doctrine,     particularly        as     applied    to     the

wrongful admission of other crimes or wrongs evidence, noting

"[t]he   likelihood     of   prejudice       is   acute       when   the   proffered

evidence is proof of a defendant's uncharged misconduct."                        G.V.,

supra, 162 N.J. at 262 (internal quotation marks and citation

omitted).       Even     where    the        N.J.R.E.     404(b)       evidence     is

admissible, harmful error is likely committed when the trial

court fails to charge the jury appropriately as to the limited

use of such evidence.         Ibid.     ("[E]ven if the evidence had been

admissible on the subsidiary issues in the case, the charge in

this case left the jury wholly unguided as to how to use the

evidence for such limited purposes.").

                                      III.

     Given    our     disposition,      we     need     not    reach    defendant's

argument that his sentence was excessive.

     Reversed.       We do not retain jurisdiction.




                                        32                                  A-2023-15T2
